


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Sciarrino, J.), imposed August 29, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s valid waiver of his right to appeal precludes review of his contention that the sentence imposed was excessive (see People v Sanders, 25 NY3d 337 [2015]; People v Bradshaw, 18 NY3d 257, 264-267 [2011]; People v Ramos, 7 NY3d 737, 738 [2006]; People v Lopez, 6 NY3d 248, 255 [2006]; People v Calinda, 142 AD3d 1183 [2016]).
 

  Eng, P.J., Balkin, Hall, Duffy and Brathwaite Nelson, JJ., concur.
 
